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                         No. 24-5905

                               In the

United States Court of Appeals
              For the Ninth Circuit
                      __________________

                     CHRISTINA GROFF,
                                                  Plaintiff-Appellant,

                                 v.

           KEURIG GREEN MOUNTAIN, INC.,
                                    Defendant-Appellee.
                 __________________

      On Appeal from the United States District Court
           for the Central District of California
            The Honorable Sunshine S. Sykes
              Case No. 5:23-cv-01492-SSS-SP
                    __________________

            ANSWERING BRIEF OF
    APPELLEE KEURIG GREEN MOUNTAIN, INC.
               __________________
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             CORPORATE DISCLOSURE STATEMENT

       Under Federal Rule of Appellate Procedure 26.1(a), Keurig Green

Mountain, Inc. states that:

  1.     Keurig Green Mountain, Inc., a Delaware corporation, is a

         wholly owned subsidiary of Maple Parent Holdings Corp.

  2.     Maple Parent Holding Corp. is a wholly owned subsidiary of

         Keurig Dr Pepper Inc.

  3.     Keurig Dr Pepper Inc. is a publicly traded company, traded on

         the Nasdaq stock market under the ticker symbol “KDP”.

  4.     JAB BevCo B.V. owns more than 10% of KDP.

  5.     No other entity owns 10% or more of KDP, Maple Parent Holding

         Corp., or Keurig Green Mountain, Inc.



Dated: February 5, 2025              /s/ Nicholas J. Hoffman
                                     Nicholas J. Hoffman

                                     Counsel for Appellee
                                     Keurig Green Mountain, Inc.




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                            INTRODUCTION

     Christina Groff bought a Keurig brewer which came with a one-year

warranty issued by Keurig Green Mountain, Inc. Keurig’s warranty

guarantees that Keurig will repair or replace a brewer that has a

materials or workmanship defect. The warranty makes explicit that

Keurig will not provide repair or replacement for damages to the brewer

caused by non-Keurig sources, including damages caused by third-party

replacement parts and repair.

     Before buying the brewer, Groff did not see or rely on the warranty

terms as part of her purchasing decision. After purchase, Groff came to

believe that her warranty would be voided if she used third-party

replacement parts or repair. Groff never used or needed to use third-

party replacement parts or repair, never sought a warranty replacement

or repair, and was never told her warranty was invalid. Groff apparently

used her brewer without issue for the entire one-year warranty period.

     Groff ultimately sued Keurig on the theory that its warranty

violates the Magnuson-Moss Warranty Act’s (MMWA) tying prohibition.

The MMWA prohibits tying arrangements in which the warranty’s

validity is conditioned on the consumer using a brand-, trade-, or



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corporate-named article or service.        15 U.S.C. § 2302(c); 16 C.F.R.

§ 700.10(a). Groff contends that this MMWA violation is an unlawful and

unfair practice under California’s Unfair Competition Law (UCL).

     The district court properly dismissed Groff’s UCL claims for failure

to plead actual reliance. Groff’s unlawful-prong and unfair-prong UCL

claims turned on an alleged MMWA violation: that Keurig misleads

consumers about their rights under the warranty terms and the law.

Specifically, Groff alleged that Keurig misrepresents that using third-

party replacement parts or repair voids the warranty. These allegations

trigger the UCL’s actual reliance requirement because they sound in

fraud. The district court thus correctly held that Groff must allege actual

reliance facts to state a UCL claim, and properly dismissed those claims

with prejudice when she repeatedly failed to do so.

     While the district court was correct to dismiss Groff’s claims for

failure to plead actual reliance, additional grounds support that

dismissal. Looking past Groff’s failure to plead actual reliance, this

Court should affirm dismissal on any of these alternative bases.

     To start, although Groff based her UCL claims on the theory that

Keurig’s warranty violates the MMWA’s tying prohibition, she did not



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allege facts of that violation.      Groff theorizes that using third-party

replacement parts or repair would impermissibly void Keurig’s warranty,

relying on the warranty’s provision under “WHAT IS NOT COVERED

BY THE LIMITED WARRANTY?” that excludes coverage for damages

caused   by    third-party     replacement      parts    and    repair.   Groff

misunderstands Keurig’s warranty and this coverage provision. Keurig’s

warranty simply guarantees against materials and workmanship defects

in the brewer. It has no tying arrangement that conditions the validity

of that guarantee on using only Keurig-approved products or services. In

short, even if a consumer uses third-party replacement parts and repair

services, Keurig will still honor its guarantee against materials and

workmanship defects in the brewer itself.

     Both courts and the Federal Trade Commission (FTC), which

administers the MMWA, agree that the coverage provision targeted by

Groff’s lawsuit is not an impermissible tying arrangement. Under both

the plain language and reasonable interpretation of the warranty, using

third-party products and services does not void the warranty.              The

district court properly dismissed Groff’s UCL claims because she failed

to allege facts of a violation of the MMWA’s tying prohibition.



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     Another basis supporting dismissal of Groff’s UCL claims is the

absolute bar safe harbor, which precludes a UCL claim based on a

statutory violation when the legislature has specifically foreclosed

private enforcement of that statutory scheme. Groff tried to enforce the

MMWA’s tying prohibition through her UCL claims.                 Yet Congress

affirmatively restricted private enforcement of the MMWA to only

consumers who can satisfy the MMWA’s statutory standing requirement.

And Congress determined that Groff’s alleged price premium injury—

which asserts damages simply from having bought a product associated

with an allegedly illegal warranty—cannot satisfy MMWA statutory

standing. Because Congress specifically decided that consumers like

Groff cannot enforce the MMWA, the absolute bar safe harbor prevents

her from circumventing that legislative determination through a UCL

claim. The district court therefore properly dismissed Groff’s UCL claims

given that she lacks statutory standing to enforce the MMWA’s tying

prohibition that undergirds her UCL claims.

     For all these reasons, the Court should affirm the district court’s

dismissal of Groff’s claims without leave to amend.




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                   JURISDICTIONAL STATEMENT

     Keurig agrees with Groff’s jurisdictional statement. Br. 4; FRAP

28(b)(1). Under Circuit Rule 28-2.2, Keurig states the following.

     Keurig timely removed this case from the California Superior Court

for the County of San Bernardino to the Central District of California.

See 7-ER-1695. The Central District had subject matter jurisdiction

under the Class Action Fairness Act, 28 U.S.C. § 1332(d)(2) and (5),

because the putative class includes at least 100 members; there is

minimal diversity between the putative class and the defendant; and the

amount in controversy exceeds $5,000,000.00.              See 7-ER-2698-2707

(identifying facts establishing this jurisdiction).

     The district court granted Keurig’s motion to dismiss the second

amended complaint on September 25, 2024, and dismissed with prejudice

all claims. See 1-ER-2. Groff filed her notice of appeal from that order

on September 26, 2024.       7-ER-1709.      This Court has subject matter

jurisdiction over this appeal under 28 U.S.C. § 1291.




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                            ISSUES PRESENTED

     Did the district court properly dismiss Groff’s UCL claims because

Groff failed to plead with particularity facts of actual reliance to support

these claims sounding in fraud?

     Did the district court exercise its sound discretion when it denied

Groff’s requested leave to file a third amended complaint given that Groff

had attempted, but failed, to plead actual reliance even after being

informed of what facts she needed to plead?

     Is the district court’s dismissal of Groff’s UCL claims proper on the

alternative bases that (1) Keurig’s warranty does not violate the

MMWA’s prohibition on tying arrangements and (2) the absolute bar safe

harbor forecloses Groff’s UCL claims based on the MMWA’s tying

prohibition?




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                 STATUTES AND REGULATIONS

     Under FRAP 28(f) and the Circuit Advisory Committee to Circuit

Rule 28-2.6, Keurig identifies the following relevant portions of the

Magnuson-Moss Warranty Act and related regulations:

     (6) The term “written warranty” means--

          (A) any written affirmation of fact or written promise
          made in connection with the sale of a consumer product
          by a supplier to a buyer which relates to the nature of
          the material or workmanship and affirms or promises
          that such material or workmanship is defect free or will
          meet a specified level of performance over a specified
          period of time, or

          (B) any undertaking in writing in connection with the
          sale by a supplier of a consumer product to refund,
          repair, replace, or take other remedial action with
          respect to such product in the event that such product
          fails to meet the specifications set forth in the
          undertaking,



          which written affirmation, promise, or undertaking
          becomes part of the basis of the bargain between a
          supplier and a buyer for purposes other than resale of
          such product.

                                ....

     (10) The term “remedy” means whichever of the following
     actions the warrantor elects:

          (A) repair,

          (B) replacement, or


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           (C) refund;



           except that the warrantor may not elect refund unless
           (i) the warrantor is unable to provide replacement and
           repair is not commercially practicable or cannot be
           timely made, or (ii) the consumer is willing to accept
           such refund.

     (11) The term “replacement” means furnishing a new
     consumer product which is identical or reasonably equivalent
     to the warranted consumer product.

15 U.S.C. § 2302(6), (10), (11).

     (a) Full and conspicuous disclosure of terms and
     conditions; additional requirements for contents

     In order to improve the adequacy of information available to
     consumers, prevent deception, and improve competition in the
     marketing of consumer products, any warrantor warranting a
     consumer product to a consumer by means of a written
     warranty shall, to the extent required by rules of the
     Commission, fully and conspicuously disclose in simple and
     readily understood language the terms and conditions of such
     warranty. Such rules may require inclusion in the written
     warranty of any of the following items among others:

           (1) The clear identification of the names and addresses
           of the warrantors.

           (2) The identity of the party or parties to whom the
           warranty is extended.

           (3) The products or parts covered.

           (4) A statement of what the warrantor will do in the
           event of a defect, malfunction, or failure to conform with
           such written warranty--at whose expense--and for what
           period of time.

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(5) A statement of what the consumer must do and
expenses he must bear.

(6) Exceptions and exclusions from the terms of the
warranty.

(7) The step-by-step procedure which the consumer
should take in order to obtain performance of any
obligation under the warranty, including the
identification of any person or class of persons
authorized to perform the obligations set forth in the
warranty.

(8) Information respecting the availability of any
informal dispute settlement procedure offered by the
warrantor and a recital, where the warranty so
provides, that the purchaser may be required to resort
to such procedure before pursuing any legal remedies in
the courts.

(9) A brief, general description of the legal remedies
available to the consumer.

(10) The time at which the warrantor will perform any
obligations under the warranty.

(11) The period of time within which, after notice of a
defect, malfunction, or failure to conform with the
warranty, the warrantor will perform any obligations
under the warranty.

(12) The characteristics or properties of the products, or
parts thereof, that are not covered by the warranty.

(13) The elements of the warranty in words or phrases
which would not mislead a reasonable, average
consumer as to the nature or scope of the warranty.

                          ....




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     (c) Prohibition on conditions for written or implied
     warranty; waiver by Commission

     No warrantor of a consumer product may condition his
     written or implied warranty of such product on the consumer's
     using, in connection with such product, any article or service
     (other than article or service provided without charge under
     the terms of the warranty) which is identified by brand, trade,
     or corporate name; except that the prohibition of this
     subsection may be waived by the Commission if--

           (1) the warrantor satisfies the Commission that the
           warranted product will function properly only if the
           article or service so identified is used in connection with
           the warranted product, and

           (2) the Commission finds that such a waiver is in the
           public interest.



     The Commission shall identify in the Federal Register, and
     permit public comment on, all applications for waiver of the
     prohibition of this subsection, and shall publish in the Federal
     Register its disposition of any such application, including the
     reasons therefor.

15 U.S.C. § 2302(a), (c).


     (a) Section 102(c), 15 U.S.C. 2302(c), prohibits tying
     arrangements that condition coverage under a written
     warranty on the consumer's use of an article or service
     identified by brand, trade, or corporate name unless that
     article or service is provided without charge to the consumer.

                                  ....

     (c) No warrantor may condition the continued validity of a
     warranty on the use of only authorized repair service and/or


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     authorized replacement parts for non-warranty service and
     maintenance (other than an article of service provided
     without charge under the warranty or unless the warrantor
     has obtained a waiver pursuant to section 102(c) of the Act,
     15 U.S.C. 2302(c)). For example, provisions such as, “This
     warranty is void if service is performed by anyone other than
     an authorized ‘ABC’ dealer and all replacement parts must be
     genuine ‘ABC’ parts,” and the like, are prohibited where the
     service or parts are not covered by the warranty. These
     provisions violate the Act in two ways. First, they violate the
     section 102(c), 15 U.S.C. 2302(c), ban against tying
     arrangements. Second, such provisions are deceptive under
     section 110 of the Act, 15 U.S.C. 2310, because a warrantor
     cannot, as a matter of law, avoid liability under a written
     warranty where a defect is unrelated to the use by a consumer
     of “unauthorized” articles or service. In addition, warranty
     language that implies to a consumer acting reasonably in the
     circumstances that warranty coverage requires the
     consumer's purchase of an article or service identified by
     brand, trade or corporate name is similarly deceptive. For
     example, a provision in the warranty such as, “use only an
     authorized ‘ABC’ dealer” or “use only ‘ABC’ replacement
     parts,” is prohibited where the service or parts are not
     provided free of charge pursuant to the warranty. This does
     not preclude a warrantor from expressly excluding liability for
     defects or damage caused by “unauthorized” articles or
     service; nor does it preclude the warrantor from denying
     liability where the warrantor can demonstrate that the defect
     or damage was so caused.

16 C.F.R. § 700.10(a), (c).


     (a) Any warrantor warranting to a consumer by means of a
     written warranty a consumer product actually costing the
     consumer more than $15.00 shall clearly and conspicuously
     disclose in a single document in simple and readily
     understood language, the following items of information:


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(1) The identity of the party or parties to whom the
written warranty is extended, if the enforceability of the
written warranty is limited to the original consumer
purchaser or is otherwise limited to persons other than
every consumer owner during the term of the warranty;
(2) A clear description and identification of products, or
parts, or characteristics, or components or properties
covered by and where necessary for clarification,
excluded from the warranty;
(3) A statement of what the warrantor will do in the
event of a defect, malfunction or failure to conform with
the written warranty, including the items or services the
warrantor will pay for or provide, and, where necessary
for clarification, those which the warrantor will not pay
for or provide;
(4) The point in time or event on which the warranty
term commences, if different from the purchase date,
and the time period or other measurement of warranty
duration;
(5) A step-by-step explanation of the procedure which
the consumer should follow in order to obtain
performance of any warranty obligation, including the
persons or class of persons authorized to perform
warranty obligations. This includes the name(s) of the
warrantor(s), together with: The mailing address(es) of
the warrantor(s), and/or the name or title and the
address of any employee or department of the warrantor
responsible for the performance of warranty obligations,
and/or a telephone number which consumers may use
without charge to obtain information on warranty
performance;
(6) Information respecting the availability of any
informal dispute settlement mechanism elected by the


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           warrantor in compliance with part 703 of this
           subchapter;
           (7) Any limitations on the duration of implied
           warranties, disclosed on the face of the warranty as
           provided in section 108 of the Act, 15 U.S.C. 2308,
           accompanied by the following statement:
           Some States do not allow limitations on how long an
           implied warranty lasts, so the above limitation may not
           apply to you.
           (8) Any exclusions of or limitations on relief such as
           incidental or consequential damages, accompanied by
           the following statement, which may be combined with
           the statement required in paragraph (a)(7) of this
           section:
           Some States do not allow the exclusion or limitation of
           incidental or consequential damages, so the above
           limitation or exclusion may not apply to you.
           (9) A statement in the following language:
           This warranty gives you specific legal rights, and you
           may also have other rights which vary from State to
           State.
16 C.F.R. § 701.3(a).




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                      STATEMENT OF THE CASE

I.   Keurig’s warranty guarantees only that a Keurig brewer is
     free of materials and workmanship defects.

     The MMWA prohibits tying behavior associated with warranties.

See 15 U.S.C. § 2302(c). Prohibited “tying arrangements” are those that

“condition coverage under a written warranty on the consumer’s use of

an article or service identified by brand, trade, or corporate name unless

that article or service is provided without charge to the consumer.” 16

C.F.R. § 700.10(a).

     Keurig’s limited warranty has no tying provision. See 2-ER-186-

90. 1 The warranty’s guarantee is limited: that the “brewer will be free of

defects in materials or workmanship under normal home use for one year

from the date of purchase.” 2-ER-187. Keurig then promises that it “will,

at its option, repair or replace a defective brewer without charge.” Id.




1     Groff never objected to the entire warranty document being
considered alongside Keurig’s motions to dismiss. Keurig’s warranty
falls within this Court’s review because it is in the record. See Fed. R.
App. 10(a)(1). And that document can supply a basis to affirm the district
court because it is subject to judicial notice and its incorporation by
reference. See Beverly Oaks Physicians Surgical Ctr., LLC v. Blue Cross
& Blue Shield of Illinois, 983 F.3d 435, 439 (9th Cir. 2020); Crain v.
Nevada, 724 F. App’x 591, 592 (9th Cir. 2018); United States v. Ritchie,
342 F.3d 903, 908 (9th Cir. 2003).

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     Keurig cautions that “[o]nly the use of Keurig® K-Cup® brand pods

and accessories will guarantee the proper functioning and lifetime of your

Keurig® brewer.” Id. This provision does not impact warranty coverage,

however, noting only that Keurig cannot guarantee that the brewer will

properly function for its intended lifetime when using non-Keurig pods

and accessories.

     Keurig’s warranty continues: “[a]ny damage to or malfunction of

your brewer resulting from the use of non-Keurig® pods and accessories

may not be covered by this warranty or may result in a service fee if the

damage or malfunction is determined to be caused by such use.” Id. This

provision does not condition warranty coverage on using a Keurig-brand

product by voiding the warranty if non-Keurig products are used.

Instead, this provision simply confirms the scope of what the warranty

guarantees: that the brewer is free from materials and workmanship

defects. And it does so by clarifying that Keurig is not going to pay for

damages to the brewer caused by other reasons, such as use of a non-

Keurig product (like pods and accessories).          But even if third-party

products damage the brewer, Keurig’s warranty against materials and

workmanship defects remains effective. See id.



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     Finally, the warranty specifies “WHAT IS NOT COVERED BY

THE LIMITED WARRANTY,” including “damages caused by use of non-

Keurig® pods or accessories, services performed by anyone other than

Keurig® or its authorized service providers, use of parts other than

genuine Keurig® parts, or external causes such as abuse, misuse,

inappropriate power supply, or acts of God.”           2-ER-187-88.    This is

another provision confirming that the warranty’s scope guarantees only

that the brewer is free of materials and workmanship defects. Again,

nothing in this language conditions warranty coverage by voiding the

warranty.   Instead, this language reiterates that the scope of the

warranty’s guarantee does not cover damages caused by non-Keurig

sources, including third-party products (pods, accessories, replacement

parts), third-party services, and non-Keurig events (abuse, misuse,

inappropriate power supply, acts of God).

     All told, Keurig’s warranty has a specific and limited scope: it

guarantees only that the brewer is free from defects that originate from

the manufacturer, Keurig. When those defects occur, Keurig commits to

repairing or replacing the brewer. By its own terms, this guarantee

impliedly excludes any guarantee against damage caused by non-Keurig



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products, services, or sources.      Rather than leaving this limitation

implicit, Keurig’s warranty makes it explicit by stating that its guarantee

does not cover damages caused by non-Keurig sources. But even if a

brewer suffers damage from a non-Keurig source, Keurig’s warranty

against materials and workmanship defects remains intact. There is no

tying condition here.

II.   Groff sued Keurig based on alleged misrepresentations
      relating to Keurig’s warranty.

      Groff began this litigation with a putative class claim under the

MMWA. See 7-ER-1644. The focus of Groff’s complaint was the warranty

accompanying her Keurig brewer. 7-ER-1655 (¶¶ 49-50). Groff alleged

that Keurig’s warranty “will be void if the consumers use third-party

repair services to fix their products.” 7-ER-1645 (¶ 4). She also alleged

that Keurig’s “[w]arranty, and additional representations related

thereto, lead consumers to believe that third-party repair will void the

warranty.” 7-ER-1650 (¶ 30). To that end, Groff alleged that Keurig

made “intentional misrepresentations of law and fact,” and “material

misrepresentations and omissions.” 7-ER-1645-46 (¶¶ 7-8).              Groff

believed these facts violated the MMWA’s tying prohibition, theorizing




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that “the warranty is ‘tied’ to exclusive repair by the manufacturer.” 7-

ER-1645 (¶ 5); see 7-ER-1658-59 (¶¶ 70-72).

        After the parties conferred over Keurig’s anticipated demurrer,

Groff filed a first amended class action complaint. See 7-ER-1678. In her

amended pleading, Groff dropped the MMWA claim and instead brought

unlawful-prong and unfair-prong claims under the UCL. See id. But the

basic gist of Groff’s lawsuit stayed the same by focusing on Keurig’s

warranty. 7-ER-1688 (¶¶ 43-44). Groff continued to allege that Keurig

made “intentional misrepresentations of law and fact” and “material

misrepresentations      and    omissions,”     adding      allegations   of   such

fraudulent behavior. 7-ER-1678-79, 1692-93 (¶¶ 7-8, 70, 79). And she

still   claimed   the    alleged    misconduct       was    Keurig’s     “multiple

representations to consumers,” both within and outside the warranty

text. 7-ER-1679, 1683-86 (¶¶ 3, 24-35). Groff tied both of her UCL claims

to this conduct that allegedly violated the MMWA’s tying prohibition. 7-

ER-1692-93 (¶¶ 66-68, 74-76).

III. The district court properly dismissed the first amended
     complaint for lack of adequately pleaded actual reliance.

        After timely removing the action, Keurig moved to dismiss Groff’s

first amended complaint. See 7-ER-1209. The district court granted that


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motion because Groff’s UCL claims lacked adequately pleaded facts of

actual reliance to establish UCL statutory standing. See 4-ER-632-41.

      Under California law, when UCL claims are based on “allegations

that sound in fraud,” “a plaintiff [must] show that she actually relied on

the misrepresentation” to establish statutory standing.                 4-ER-639.

“Moreover, UCL claims that sound in fraud are subject to the heightened

pleading standard under Federal Rule of Civil Procedure 9(b).” Id. And

“Groff’s UCL claims sound in fraud.” Id. The court explained:

      The crux of both her UCL claims is that Keurig intentionally
      misrepresented to her that the warranty’s validity is
      conditioned on her using an authorized service provider to
      perform any repairs to her coffee [brewer]. . . . According to
      Groff, this representation is false and misleading because she
      was led to believe that by using a third-party repair service,
      Keurig subsequently will refuse to honor the warranty.

Id.

      Given that her UCL claims were based on allegations sounding in

fraud, Groff needed to “allege with particularly that she actually relied

on Keurig’s alleged unlawful tying provision when she decided to pay

more (i.e., overpaid) for her coffee [brewer].” Id. Yet “Groff fail[ed] to do

so.” Id. The court held that her allegation that the “alleged unlawful

tying provision ‘caused Plaintiff injury’ [was] insufficient to state with



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particularly     that    she     actually     relied   on    Keurig’s     [alleged]

misrepresentation.” 4-ER-640.

      The district court then laid out the types of missing facts that would

adequately plead actual reliance:

      Notably, Groff does not even allege when she saw, read, or
      discovered the unlawful tying provision. For example, Groff
      does not allege that before she purchased her coffee maker,
      she saw and read a representation about the warranty on the
      box, believed it to be lawful, and decided to pay a premium for
      the coffee maker because it was covered by a one-year, lawful
      warranty. Nor does she allege that after the purchase, she
      discovered that the tying provision was unlawful and would
      not have paid this premium had she known of the falsity or
      misleading nature of the warranty’s language at the time of
      purchase.

Id.

      Without these types of “facts to show she actually relied on the

warranty’s alleged unlawful tying provision,” the district court

concluded, Groff “in turn fail[ed] to demonstrate she has standing under

the UCL.” Id. The district court thus dismissed Groff’s first amended

complaint.      Id.     And while the court was “skeptical” that these

“deficiencies . . . [could] be remedied, it [could not] conclude that

amendment would be futile” and so granted Groff leave to amend the

complaint. Id.



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IV.   In the second amended complaint, Groff still pleaded her
      UCL claims based on alleged misrepresentations.

      Groff filed a second amended complaint with allegations that were

largely unchanged from her prior complaint. See 4-ER-600. The lawsuit

was still about Keurig’s warranty associated with Groff’s coffee brewer.

4-ER-612 (¶¶ 44-45). She still alleged that the misconduct was Keurig’s

“multiple representations to consumers,” both within and outside the

warranty text. 4-ER-601, 606-10 (¶¶ 3, 25-36). And her UCL claims were

still based on these representations, alleging that they violated the

MMWA’s tying prohibition. 4-ER-616-18, (¶¶ 68-70, 76-79).

      The primary difference was that Groff scrubbed the words

“misrepresentations” and “omissions” from her complaint. Compare, e.g.,

4-ER-602, 617-18 (¶¶ 7-8, 72, 82), with, e.g., 7-ER-1679-80, 1692-93 (¶¶

7-8, 70, 79). Groff also tried to plead reliance with a new allegation that,

when buying the Keurig brewer from Amazon.com, she saw a notice

about a warranty. 4-ER-612 (¶¶ 45-46).

V.    The district court properly dismissed the second amended
      complaint for lack of adequately pleaded actual reliance.

      Keurig again moved to dismiss. See 3-ER-587. The district court

again granted Keurig’s motion because Groff failed to adequately plead

facts of actual reliance to establish UCL statutory standing. 1-ER-2-6.

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     Although Groff insisted that her claims did not sound in fraud, the

court disagreed, reasoning that “[w]hile Groff deleted the word

‘misrepresentation’ from the entirety of the” second amended complaint,

that superficial modification did not change “the crux of her allegations.”

1-ER-4-5. That is, Groff’s UCL claims still alleged that “Keurig made

misrepresentations to [Groff] and similarly situated consumers that the

warranty’s validity is conditioned on her using an authorized provider to

perform repairs to her coffee [brewers] in violation of the [MMWA’s] anti-

tying provisions.”    1-ER-5.     “No matter how Groff reframe[d] her

allegations, her UCL claims still sound in fraud.” 1-ER-4.

     Given that her UCL claims were still based on allegations sounding

in fraud, Groff still needed to plead actual reliance. 1-ER-5. She again

failed to do so. Her new allegations of seeing a webpage reference to a

warranty associated with her Keurig brewer failed to bridge this pleading

gap. Id. The court explained:

     She still does not allege that she read the most important
     term of the warranty at issue in this case—i.e., the unlawful
     tying provision. She does not allege she read this provision
     before she purchased the coffeemaker. She does not allege she
     relied on this alleged unlawful tying provision when she
     decided to pay premium for the coffee maker. Groff does not
     even allege that after she received her product, she received
     the warranty, discovered the unlawful tying provision, and


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      would not have paid this premium had she known of the
      falsity or misleading nature of the warranty’s language at the
      time of purchase.

Id.

      Without these or similar allegations, Groff failed to allege facts of

actual reliance that would satisfy Rule 9(b)’s requirements. See id. The

district court thus dismissed Groff’s second amended complaint. 1-ER-6.

“Moreover, based on the scant allegations Groff added to the” second

amended complaint, the court held it “clear . . . that Groff cannot allege

facts that could cure this deficiency.” Id. The district court therefore

denied Groff leave to amend and directed the clerk to close the action. Id.

                      SUMMARY OF ARGUMENT

      The district court correctly dismissed Groff’s UCL claims without

leave to amend for three reasons.

      First, Groff failed to plead actual reliance. The district court rightly

determined that Groff’s unlawful-prong and unfair-prong UCL claims

required pleading actual reliance. After all, those UCL claims depended

on allegations sounding in fraud: that Keurig made misrepresentations

within and outside the warranty that deceived consumers about their

rights under Keurig’s warranty and the law. In turn, the district court

also correctly held that Groff failed to allege facts to plead actual reliance

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because none of her allegations established Groff’s awareness of, let alone

reliance on, Keurig’s allegedly wrongful representations before buying

her brewer. Finally, the district court’s dismissal without leave to amend

was correct because Groff repeatedly failed to allege facts necessary to

plead actual reliance, and Groff has not otherwise proffered any new facts

to avoid dismissal. The Court should thus affirm the district court’s

dismissal with prejudice.

     Second, Groff failed to plead a violation of the MMWA’s tying

prohibition. Keurig’s warranty guarantees that Keurig will repair or

replace a brewer that has a materials or workmanship defect.            The

validity of that guarantee is not conditioned on the consumer not using

third-party replacement parts or repair. Instead, the warranty simply

clarifies that it does not cover damages caused by third-party products

and services. Keurig’s warranty therefore has no tying arrangement that

could violate the MMWA’s tying prohibition. The Court should affirm the

district court’s dismissal with prejudice on this alternative ground.

     Third, Groff cannot base her UCL claims on an MMWA violation

under the absolute bar safe harbor.         Congress determined that only

consumers who can satisfy the MMWA’s statutory standing provision can



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enforce the MMWA. Groff’s alleged injury, price premium damages, is

not a type of injury that satisfies MMWA statutory standing so that she

qualifies as the type of consumer who can enforce the MMWA. In turn,

the absolute bar safe harbor prevents Groff from pleading around

MMWA statutory standing by trying to enforce the MMWA’s provisions

through a UCL claim.       The Court should affirm the district court’s

dismissal with prejudice on this alternative ground.

                               ARGUMENT

     This Court “review[s] de novo a district court’s dismissal for failure

to state a claim upon which relief can be granted.” Cohen v. ConAgra

Brands, Inc., 16 F.4th 1283, 1287 (9th Cir. 2021). “Questions of . . .

statutory interpretation are also reviewed de novo.” Id. Similarly, “[t]he

interpretation and meaning of contract provisions are questions of law

and are also reviewed de novo.” Diaz v. Macys W. Stores, Inc., 101 F.4th

697, 700 (9th Cir. 2024). Finally, the Court “review[s] the denial of leave

to amend for an abuse of discretion,” but will “review the futility of

amendment de novo.” Cohen, 16 F.4th at 1287. 2



2      Groff argues that an abuse of discretion standard applies to the
futility analysis. See, e.g., Br. 5, 12, 14, 44-46. Keurig will accept that
standard of review.

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     The district court correctly dismissed Groff’s UCL claims because

she failed to plead facts stating a claim for relief. As the district court

held, Groff’s UCL claims sound in fraud yet she failed to plead with

particularity facts of actual reliance to establish statutory standing. In

turn, the district court properly denied Groff’s requested leave to amend

given that she can plead no facts of actual reliance.

     Looking past Groff’s failure to plead facts of actual reliance,

additional reasons support dismissal of her meritless lawsuit. At bottom,

this lawsuit tries to fit a square peg into a round hole: trying to force a

“tying” theory of liability—a recently popularized litigation trend—onto

Keurig’s warranty that has no tying condition.              Because Keurig’s

warranty does not violate the MMWA’s prohibition against tying

arrangements, Groff’s claims are meritless and were properly dismissed.

     Another reason supports the district court’s dismissal: the UCL’s

absolute bar safe harbor. This safe harbor forecloses her claims because

Congress contemplated “no injury” consumers like Groff and decided that

they cannot enforce the MMWA’s technical requirements. Groff cannot

use the UCL to avoid this legislative decision.

     For all these reasons, the Court should affirm the district court.



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I.   The district court properly dismissed Groff’s UCL claims for
     failure to plead particular facts of actual reliance.

     Everyone agrees: any UCL claim (fraud-prong, unlawful-prong, or

unfair-prong) relying on allegations sounding in fraud requires actual

reliance. See Kwikset Corp. v. Superior Court, 246 P.3d 877, 888 (Cal.

2011); see also Watkins v. MGA Ent., Inc., 550 F. Supp. 3d 815, 834 (N.D.

Cal. 2021) (“The reliance requirement applies not only to UCL claims

asserted under the fraud prong of section 17200 but also to claims

asserted under the unlawful and unfair prongs where those claims are

predicated on misrepresentation and deception.”).                  Under this

requirement, the plaintiff must “prove actual reliance on the allegedly

deceptive or misleading statements.” Sateriale v. R.J. Reynolds Tobacco

Co., 697 F.3d 777, 793 (9th Cir. 2012).

     The central thrust of this appeal is Groff’s attack on the district

court’s holdings that, first, Groff’s UCL claims are based on allegations

sounding in fraud and, second, Groff failed to plead with particularity

actual reliance. Groff is wrong on the law and the alleged facts.




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      A.     Groff conflates her UCL claims with those that rely on
             unlawful conduct independent of any representations.

      Groff muddles the distinction between when a UCL claim sounds in

fraud and when it does not. Br. 17-22. But that distinction is essential

to the district court’s dismissal.

      A UCL claim does not sound in fraud when a defendant allegedly

commits unlawful conduct independent of any misrepresentations to

consumers. Groff’s cited cases all fall within this category. For example,

in Clayworth v. Pfizer, Inc., 233 P.3d 1066, 1070-71, 1087 (Cal. 2010), the

defendants’ illegal price-fixing conspiracy involved no representations to

their customer pharmacies, who were plaintiffs.              And in Svenson v.

Google, Inc., 2015 WL 1503429, *1-2, *9 (N.D. Cal. Apr. 1, 2015), the

defendants’ unlawful disclosure of personal information, in violation of

their policies, involved no representations to its app purchasers like the

plaintiff.   In fact, the plaintiff did not base her UCL claims on the

defendants’ representations about its disclosure practices—just the

disclosure practices themselves. Id. at *9-10. Finally, in Kissel v. Code

42 Software, Inc., 2016 WL 7647691, *1-2, *8 (C.D. Cal. Apr. 14, 2016),

the defendant’s computer service subscriptions violated California’s

Automatic Renewal Law independent of the truthfulness of any


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representations to subscribers like the plaintiff. As in all these cases, the

defendant’s alleged conduct was unlawful separate from the truthfulness

of representations to consumers. See id.

     Those circumstances, however, are different in kind from when the

alleged misconduct—whether supposedly unlawful or unfair, or both—is

intertwined with purported misrepresentations. In these situations, the

allegations sound in fraud. For example, if UCL claims are based on

“statutory provisions [that] simply codify prohibitions against specific

types of misrepresentations,” then the claims sound in fraud. Kwikset

Corp., 51 Cal. 4th at 888 n.9. Similarly, UCL claims sound in fraud by

relying on allegations about “a unified course of fraudulent conduct.”

Kearns v. Ford Motor Co., 567 F.3d 1120, 1125 (9th Cir. 2009). In short,

alleged misconduct giving rise to a UCL claim sounds in fraud when it

coincides with alleged misrepresentations. See Wall v. Hewlett-Packard

Co., 2011 WL 6325972, *3 (S.D. Cal. Dec. 16, 2011) (UCL claim sounds in

fraud when “based on representations that deceive”).




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     B.       Groff’s UCL claims rely on alleged misrepresentations
              and thus sound in fraud to require actual reliance.

              1.   Groff’s prior complaints were grounded in fraud.

     Groff’s UCL claims in her second amended complaint should be

considered in the context of her allegations in prior complaints. See

Rodriguez v. Sony Comput. Ent. Am., LLC, 801 F.3d 1045, 1054 (9th Cir.

2015) (“an amended complaint should aver additional allegations that

are consistent with the challenged pleading and that do not contradict

the allegations in the original complaint”); Am. Title Ins. v. Lacelaw

Corp., 861 F.2d 224, 226 (9th Cir. 1988) (“admissions in the pleadings are

generally binding on the parties and the Court”); Davis v. Combined Ins.,

2018 WL 10701406, *1 (N.D. Cal. Mar. 7, 2018) (“plaintiff cannot omit

prior factual allegations in an attempt to state a claim in amended

pleading”).

     In her original and first amended complaints, Groff based her

theory of liability on Keurig’s alleged “misrepresentations of law and

fact,” and “material misrepresentations and omissions.” 7-ER-1645-46

(¶¶ 7- 8); 7-ER-1678-79 (¶¶ 7-8). In her first amended complaint, she

explicitly based her UCL claims on those alleged misrepresentations. 7-




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ER-1692-93 (¶¶ 70, 79). Groff’s lawsuit has always alleged that Keurig’s

liability is based on misrepresentations—allegations that sound in fraud.

           2.    Groff’s second amended complaint continued to
                 base liability on alleged misrepresentations.

     This theory of Groff’s lawsuit did not meaningfully change in her

second amended complaint.          To be sure, Groff “deleted the word

‘misrepresentation’ from the entirety of the” second amended complaint.

1-ER-4-5. The district court, however, correctly held that this superficial

change did not alter the substance of Groff’s claims. See id.

     In her second amended complaint, Groff alleged that the MMWA

prohibits “voiding [a] warranty” if the consumer uses third-party

replacement parts and repair.       4-ER-601 (¶¶ 5-6).        But Groff never

alleged that her warranty—or anyone’s warranty with Keurig, for that

matter—was voided after using a third-party product or service. See 4-

ER-612 (¶ 47).       Groff’s cases (Clayworth, Svenson, Kissel) are

incomparable: they each involved allegations that conduct, separate from

misrepresentations, violated the law.

     Rather than alleging unlawful and unfair conduct separate from

misrepresentations, Groff alleged that Keurig falsely represented that

using third-party replacement parts and repair “will void” the warranty.


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4-ER-608-09 (¶ 33).     Groff also framed the statements in Keurig’s

warranties as misrepresentations that “[l]ea[d] a [r]easonable [c]onsumer

to [b]elieve [t]hat [t]hird-[p]arty [r]epair is [p]rohibited.”         4-ER-606

(heading and ¶¶ 25-26) (emphasis added); see also 4-ER-610 (¶ 36)

(alleging that Keurig’s representations “lead consumers to believe that

their warranties are voided by third party repairs”). To emphasize her

focus on consumer interpretation of representations, Groff pleaded that

third-party website statements exemplify the “common understanding”

that Keurig threatens to void a warranty in the event of using third-party

products or services. 4-ER-607-08 (¶¶ 27-32). Groff also alleged that

these misrepresentations further Keurig’s supposed “monopoly on

repairing the devices [it] sell[s], and on manufacturing, marketing, and

selling after-market parts and accessories.” 4-ER-602 (¶ 7).

     In sum, Groff’s UCL claims are based on Keurig allegedly

misleading consumers about their warranty rights (by representing that

third-party replacement parts and repair will void the warranty)—not

Keurig violating the MMWA by voiding any warranty because a

consumer used third-party products or service. Groff’s UCL claims thus

sound in fraud by alleging that, through Keurig’s misrepresentations,



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consumers misunderstood their rights under Keurig’s warranty. See

Wall, 2011 WL 6325972, at *3.

     Groff concedes as much on appeal given her argument that, even if

Keurig’s warranty is not actually voided by using third-party

replacement parts and repair, liability still arises from misleading

consumers into believing that to be so. Br. 7. Groff’s theory of UCL

liability, then, is still intertwined with alleged misrepresentations under

this strained interpretation of Keurig’s warranty. In short, Groff’s UCL

claims sound in fraud.

     Nor does Groff avoid relying on misrepresentations by arguing that

the “presentations in the warranty text” are themselves “prohibited

warranty restrictions against third-party repair.” Br. 24. 3 This theory

of UCL liability sounds in fraud for two reasons.           First, this theory

amounts to alleging that Keurig engaged in “a unified course of

fraudulent conduct” by knowingly selling an illegal warranty. Kearns,

567 F.3d at 1125; see also, e.g., Hiradate v. Ralphs Grocery Co., 2022 WL

19299128, *4 (C.D. Cal. Nov. 28, 2022) (UCL claims sounded in fraud by




3    This legal conclusion is erroneous. See infra Argument § II.

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alleging that the defendants knowingly “engaged in the unified

fraudulent conduct of selling worthless gift cards to consumers”).

     Second, this theory of UCL liability sounds in fraud because the

FTC has said as much. Groff’s UCL claims are based on the MMWA anti-

tying statutory provision, see 15 U.S.C. 2302(c), as administered by FTC

regulation, see 16 C.F.R. § 700.10. See, e.g., Br. 6-7. The FTC states that

warranty “provisions” “condition[ing] the continued validity of a

warranty on” not using third-party products or services—as Groff alleges

here—“are deceptive . . . because a warrantor cannot, as a matter of law,

avoid liability under a written warranty where a defect is unrelated to

the use” of those third-party products or services. 16 C.F.R. § 700.10(c)

(emphasis added). Contrary to Groff’s assertion that this alleged MMWA

violation “is not an allegation of deception,” Br. 23, the very law

undergirding Groff’s UCL claims characterizes such alleged conduct as

“deceptive.” 16 C.F.R. § 700.10(c). Groff’s theory of an MMWA violation

is a theory of deception, and thus sounds in fraud. See Kwikset Corp., 51

Cal. 4th at 888 n.9.

     For all these reasons, the district court correctly held that “the crux

of [Groff’s] allegations” in the operative complaint “remain[ed] the same”



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as in earlier pleadings. 1-ER-5. That is, Groff’s claims were still based

on Keurig’s alleged “misrepresentations . . . that the warranty’s validity

is conditioned on [consumers] using an unauthorized provider to perform

repairs.”   Id.   The district court therefore correctly determined that

Groff’s “UCL claims still sound in fraud” and required pleading actual

reliance. 1-ER-4-5.

     C.     Groff failed to plead actual reliance with particularity.

            1.    Groff waived this argument and thus forfeited the
                  ability to raise it on appeal.

     Keurig moved to dismiss the second amended complaint because

Groff’s UCL claims sounded in fraud and she failed to plead actual

reliance. 3-ER-567-70. In opposition, Groff recognized both points but

argued only that her UCL claims did not sound in fraud. 2-ER-126-27.

Groff thus waived the argument that she alleged facts establishing actual

reliance “by failing to raise [it] in an opposition to [the] motion to

dismiss.” Vien-Phuong Thi Ho v. Reconstruct Co., 669 F. App’x 857, 859

(9th Cir. 2016). This waived argument “cannot be heard on appeal.”

Walsh v. Nevada Dep’t of Hum. Res., 471 F.3d 1033, 1037 (9th Cir. 2006)

(plaintiff’s failure to raise issue in response to motion to dismiss waived

that issue and “forfeited the right to raise [it] on appeal”). Without


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further analysis, the Court should affirm the district court’s holding that

Groff failed to “adequately allege she actually relied on the unlawful

tying provision” to “demonstrate she has statutory standing to bring [her]

two UCL claims.” 1-ER-5-6.

           2.    Groff failed to plead actual reliance.

     Even if the Court considers the merits of this waived issue, Groff

did not plead actual reliance. When a UCL claim relies on allegations

sounding in fraud, a plaintiff must plead “actual reliance on the allegedly

deceptive or misleading statements.” Sateriale, 697 F.3d at 793. Groff

thus needed to allege facts that the alleged misrepresentations were “an

immediate cause of [her alleged] injury-producing conduct,” that is, they

were a reason she bought the brewer. Kwikset Corp., 246 P.3d at 888.

     Yet Groff did not plead that she relied on Keurig’s alleged

misrepresentations, either outside or within her warranty, to buy her

brewer. See 4-ER-606-09 (¶¶ 25-33). In fact, Groff’s carefully worded

allegations do not claim that she has ever read her warranty. 4-ER-612

(¶ 47). Instead, Groff alleged that, when she “purchased [her brewer] on

Amazon.com, [she] saw a notice on the webpage that the [brewer] had a

warranty—however, the terms of the [w]arranty were not available on



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the webpage, via link or otherwise.” Id. (¶ 45). Groff then alleged that

she relied “on that notice” to “reasonably expec[t] that the [brewer] was

subject to a warranty that complied with the law.” Id. (¶ 46).

         These alleged facts fail to plead actual reliance for three reasons.

First, Groff supposedly relied on only a notice that a warranty existed,

not on any of the allegedly misleading statements underlying her UCL

claims against Keurig. See 1-ER-5 (“She still does not allege that she

read the most important term of the warranty at issue in this case—i.e.,

the unlawful tying provision.”). “To adequately allege reliance,” however,

“a plaintiff must, at a minimum, allege that he saw the representation at

issue.” Gonzales v. Nat. Factors Nutritional Products Inc., 2024 WL

4609853, *6 (C.D. Cal. June 28, 2024); see also, e.g., Kwikset Corp., 246

P.3d at 888-89 (actual reliance when the plaintiff “saw and relied on the

labels” that contained the misrepresentations). Groff did not allege these

facts.

         Second, Groff relied on the notice of a warranty only to presume

that the warranty complied with the law, not as a reason to buy her

brewer.      Even if actual reliance required only that Groff knew of a

warranty (not requiring that she viewed the alleged misrepresentations),



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Groff did not allege that she bought the brewer because there was a

warranty. See 1-ER-5 (“She does not allege she relied on this alleged

unlawful tying provision when she decided to pay premium for the

[brewer].”).    And actual reliance requires “alleging . . . that [the

consumer]      would    not    have    bought     the    product    but   for   the

misrepresentation.” Kwikset Corp., 246 P.3d at 890; see also, e.g., Bishop

v. 7-Eleven, Inc., 651 F. App’x 657, 658 (9th Cir. 2016) (plaintiff pleaded

actual reliance by alleging “he would not have had purchased the

[product] had” there been no misrepresentations). Groff did not allege

these facts.

     Third, Groff tied her allegations of reliance to a notice of a warranty

provided by a third party: whatever entity runs Amazon.com. Groff did

not allege that the warranty notice on the Amazon.com webpage was

attributable to Keurig. Because Keurig cannot be liable for a third-

party’s alleged misrepresentations, representations on Amazon.com

cannot serve as the basis for actual reliance to support UCL claims

against Keurig. See, e.g., Beyer v. Symantec Corp., 333 F. Supp. 3d 966,

975 (N.D. Cal. 2018) (statements on a third-party website, “not allege[d]

. . . attributable to” the defendant, could not support a UCL claim).



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     Considering all these infirmities with Groff’s pleading, the district

court got it right: Groff’s “allegations fall short” of pleading actual

reliance by “showing she actually relied on the unlawful tying provision

when she decided to purchase her [brewer].” 1-ER-5. The court properly

dismissed Groff’s UCL claims for failing to plead with particularity facts

establishing actual reliance and UCL statutory standing. 1-ER-5-6.

     On appeal, Groff does not argue that she pleaded facts establishing

actual reliance. She only contends that her pleading adequately gives

notice of what alleged misrepresentations are at issue. Br. 24-25. Groff

misses the point. Her cited case, Rasmussen v. Apple Inc., 27 F. Supp. 3d

1027, 1043-45 (N.D. Cal. 2014), addressed whether the plaintiff’s

allegations of actual reliance were specific enough to identify the

misrepresentations. Rasmussen is irrelevant. Unlike Rasmussen, Groff

adequately specified the alleged misrepresentations underlying her UCL

claims. Unlike Rasmussen, Groff failed to allege facts of actual reliance

on misrepresentations (regardless of specificity) attributable to Keurig.

Rasmussen neither challenges the correctness of the district court’s

holding, nor changes that Groff failed to allege facts of actual reliance.




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      D.    Dismissal with prejudice was proper.

            1.    Groff waived any argument for reversal.

      In the district court, Groff’s entire argument to seek leave to amend

was the following sentence at the end of her opposition brief: “In the

alternative, Plaintiff respectfully seeks leave to cure any pleading

deficiencies.” 2-ER-139. “[A]rguments not raised before the district court

with sufficient specificity and vigor are generally considered waived on

appeal.” Gabourel v. Luxottica of Am., Inc., 2024 WL 260963, *1 (9th Cir.

Jan. 24, 2024). Groff’s one-sentence request for leave to amend was not

made with specificity and vigor. See Holley-Gallegly v. TA Operating,

LLC, 74 F.4th 997, 1000-01 (9th Cir. 2023) (argument made with

“sufficient specificity and vigor” when not made “in passing”).         Any

argument that challenges the district court denying leave to amend is

thus waived. See In re Mercury Interactive Corp. Sec. Litig., 618 F.3d

988, 992 (9th Cir. 2010) (“an issue will generally be deemed waived on

appeal if the argument was not raised sufficiently for the trial court to

rule on it”). The Court should affirm the denied leave to amend without

further analysis. 4


4    Similarly, if the Court affirms on alternative grounds, Groff’s
cursory request seeking leave to amend cannot secure such leave. Br. 26.

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             2.      The district court properly denied leave to amend.

     The district court denied leave to amend because, given Groff’s

“scant allegations” attempting to plead actual reliance in the second

amended complaint, it was “clear” that Groff could not “allege facts that

could cure” her failure to plead actual reliance. 1-ER-6. This Court

should affirm the district court’s sound exercise of discretion.

     “A district court’s discretion to deny leave to amend is particularly

broad where the plaintiff has previously amended.” Salameh v. Tarsadia

Hotel, 726 F.3d 1124, 1133 (9th Cir. 2013); see also Foman v. Davis, 371

U.S. 178, 182 (1962) (leave to amend improper where there has been

“repeated failure to cure deficiencies by amendments previously

allowed”).        When the district court dismissed the first amended

complaint, it informed Groff that her allegations failed to plead actual

reliance. 4-ER-639. The district court also instructed Groff precisely

what types of facts she needed to allege to plead actual reliance. Id.

When Groff failed to allege those types of facts, the district court’s denial

of leave to amend was thus firmly within its “broad” discretion to do so.

Salameh, 726 F.3d at 1133.




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     The district court’s denial of leave to amend was proper also

because amendment was futile.            Two reasons establish futility of

amendment, and each reason also justifies the district court’s denial of

leave to amend. See Kroessler v. CVS Health Corp., 977 F.3d 803, 815

(9th Cir. 2020) (“Futility of amendment can, by itself, justify the denial

of a motion for leave to amend.”).

     First, Groff has never explained what facts any proposed amended

complaint would contain and how those new facts would avoid dismissal.

See Br. 44-46; 2-ER-139. “[A]mendment would be futile” because Groff

“has failed to proffer, either before this [C]ourt or the district court, any

additional facts [she] would plead if given the opportunity to amend.”

Stross v. Zillow, Inc., 2023 WL 8518904, *2 n.2 (9th Cir. Dec. 8, 2023); see

also Bracht v. Deckers Outdoor Corp., 2012 WL 13013417, *2 (C.D. Cal.

Oct. 2, 2012) (“The courts of appeals regularly affirm denials of leave to

amend where, as here, a plaintiff has failed to proffer any facts it claims

it could add.”). The Court can affirm the denial of leave to amend on this

basis without further analysis. See id.

     Second, amendment would be futile because there are no new “facts

consistent with the challenged pleading [that] could . . . possibly cure the



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deficiency.” Telesaurus VPC, LLC v. Power, 623 F.3d 998, 1003 (9th Cir.

2010). In dismissing the first amended complaint, the district court

explicitly told Groff the type of facts needed to plead actual reliance. 4-

ER-640. Groff’s subsequent failure to plead any facts resembling actual

reliance made it “clear” that those facts do not exist and cannot be

pleaded. 1-ER-6.

      On appeal, Groff contends that the district court’s “single-sentence

explanation . . . is not a justifying reason.” Br. 45. To the contrary, Groff’s

failure to plead the type of facts that the district court told her were

necessary to state a claim justifies the common-sense conclusion that

Groff cannot plead those facts. See, e.g., Velasquez v. Chase Home Fin.

LLC, 2011 WL 89592, *1 (N.D. Cal. Jan. 10, 2011) (dismissing claims

with prejudice after the plaintiff failed to plead “the types of facts” the

court had “identified” as “need[ing] to be alleged in order to state claims

for relief”). Indeed, nowhere has Groff argued that she can plead other

facts to establish actual reliance, at most suggesting (without specifics)

that she can further develop facts about her “reliance” on a third-party’s

notice of a warranty.      Br. 46.   Groff’s inability to specify new facts

showing actual reliance underscores that the district court was right.



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     Amendment would be futile. The district court properly denied

Groff leave to file an amended complaint. See Kroessler, 977 F.3d at 815.

           3.    Groff’s new argument on appeal is waived and, in
                 any event, is not a basis to find error.

     In the district court, Groff asked for leave to amend to “cure any

pleading deficiencies.” 2-ER-139. In response, the district court held that

Groff failed to plead facts of actual reliance and, as to amendment, “that

Groff cannot allege facts that could cure this deficiency.” 1-ER-6. On

appeal, however, Groff does not want an amendment to cure her pleading

deficiency, but wants the opportunity to bring a new “theory of the case”

divorced of alleged misrepresentations. Br. 45-46.

     The Court should reject this basis for reversal on waiver grounds.

An appellant waives an argument they “failed to raise . . . before the

district court.” Sandgathe v. Chater, 108 F.3d 978, 980 (9th Cir. 1997).

Groff did not seek leave from the district court for the reason argued on

appeal: to file another amended complaint with a new theory of liability

untethered from misrepresentations. Groff “did not raise this argument

before the district court and it is therefore waived.” Brooks v. Barnhart,

118 F. App’x 167, 169 (9th Cir. 2004).




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     In any event, this proposed reason to reverse and grant leave to

amend fails on futility grounds. To begin, “amendment would be futile”

because Groff still does not specify what new facts she would plead to

state a new theory of the case and avoid dismissal. Stross, 2023 WL

8518904, at *2 n.2. Her broad generalities that another amendment

would establish that her claims are not based on misrepresentations, and

thus need not plead actual reliance, cannot secure reversal. See id.;

Kroessler, 977 F.3d at 815.

     Separately, amendment would be futile because Groff cannot allege

any new facts to distance her UCL claims from allegations of

misrepresentation, thereby avoiding the actual reliance requirement.

See Telesaurus, 623 F.3d at 1003. Groff’s unlawful-prong and unfair-

prong UCL claims use “the same root misconduct” of alleged MMWA

violations.   Br. 11 n.5.     In turn, the alleged MMWA violations are

inherently “deceptive.” 16 C.F.R. § 700.10(c). That the “root misconduct”

constituting alleged MMWA violations is deceptive means that Groff’s

UCL claims will always sound in fraud. See Kwikset Corp., 51 Cal. 4th

at 888 n.9. Additionally, Groff’s warranty was never voided—and never

could be voided under the actual warranty terms. See infra Argument



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§ II. Her UCL claims, premised on an MMWA anti-tying violation, must

therefore rely on allegations of misleading consumers about their rights

under the warranty and the law. See Wall, 2011 WL 6325972, at *3.

      Because Groff’s proposed amendment about a new theory of the

case cannot escape an actual reliance requirement, it is futile and cannot

secure reversal. See Kroessler, 977 F.3d at 815.

II.   Keurig’s warranty has no tying arrangement and thus
      cannot violate the MMWA’s tying prohibition.

      “This [C]ourt can affirm the district court’s dismissal on any ground

supported by the record, even if the district court did not rely on the

ground.” Livid Holdings Ltd. v. Salomon Smith Barney, Inc., 416 F.3d

940, 950 (9th Cir. 2005). Groff’s unlawful-prong and unfair-prong UCL

claims depend on an alleged violation of the MMWA’s tying prohibition.

4-ER-601-02, 609-10, 616-19 (¶¶ 3-8, 34-36, 67-68, 70, 76-79). On appeal,

Groff confirms that both UCL claims rely on the premise that Keurig’s

warranty violated the MMWA. Br. 10-11 & n.5, 19, 34-41. Consequently,

if Groff failed to plead an MMWA violation, then she failed to plead her

UCL claims, and dismissal was proper. See Wasjutin v. Bank of Am.,

N.A., 732 F. App’x 513, 517 (9th Cir. 2018) (“Absent any predicate




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violation of statute or common law, there is no basis for invoking the

UCL’s unlawful prong.”).

     The MMWA’s tying prohibition prohibits a “warrantor” from

“condition[ing]” its written warranty “on the consumer’s using, in

connection with such product, any article or service (other than article or

service provided without charge under the terms of the warranty) which

is identified by brand, trade, or corporate name.” 15 U.S.C. § 2302(c).

The key feature of a tying arrangement is that the validity of the

warranty is “condition[ed]” on the consumer using a brand-, trade-, or

corporate-named article or service. Id.; see also 16 C.F.R. § 700.10(a), (c).

To that end, a tying arrangement is one “that requires the consumer to

purchase some product or service identified by brand, trade, or corporate

name in order to gain the benefit of the warranty.” McGarvey v. Penske

Auto. Grp., Inc., 2010 WL 1379967, *7 (D.N.J. Mar. 29, 2010).

     Groff’s lawsuit hangs on her insistence that Keurig limiting the

scope of its warranty guarantee (which is not a tying arrangement) is the

same as conditioning the warranty’s validity (which is a tying

arrangement).     Groff is wrong.         Keurig’s warranty has no tying

arrangement and thus cannot violate the MMWA’s tying prohibition.



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     A.    Keurig’s warranty does not condition coverage.

     Keurig’s limited warranty guarantees that a “brewer will be free of

defects in materials and workmanship under normal home use for one

year from the date of purchase.” 2-ER-187. The MMWA specifically

permits this “written warranty” to be limited to “the nature of the

material or workmanship and affirms or promises that such material or

workmanship is defect free.” 15 U.S.C. § 2301(6)(A); see also 16 C.F.R.

§ 701.3(a) (explaining a written warranty under the MMWA).

     To back up this guarantee, Keurig promises, “at its option, [to]

repair or replace a defective brewer without charge.” 2-ER-187. These

are appropriate “remed[ies]” in the event of a material or workmanship

defect. 15 U.S.C. § 2301(10); see also 15 U.S.C. § 2302(a)(4) (requiring

such an explanation of remedies); 16 C.F.R. § 701.3(a)(3) (same).

     Nothing in Keurig’s warranty conditions the warranty’s validity on

a consumer not using third-party replacement parts or repair.          No

provision requires a consumer to buy Keurig-brand articles or services to

secure a repair or replacement in the event of a materials or

workmanship defect. Nor is there any “void” or similar provision that

invalidates the guarantee against materials and workmanship defects if



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the consumer uses third-party replacement parts or repair with their

brewer. Contra, e.g., Dickerson v. NWAN Inc., 2018 WL 740999, *1, *4

(D. Ariz. Feb. 7, 2018) (tying condition when, under the warranty’s

express terms, using an unauthorized service “will void” the warranty);

16 C.F.R. § 700.10(c) (providing a similar example).

     Instead, Groff focuses on the limits of the warranted guarantee’s

scope. Groff’s second amended complaint targeted three provisions:

     • “Only the use of Keurig® K-Cup® brand pods and accessories
       will guarantee the proper functioning and lifetime of your
       Keurig® brewer.”

     • “Any damage to or malfunction of your brewer resulting from the
       use of non-Keurig® pods and accessories may not be covered by
       this warranty or may result in a service fee if the damage or
       malfunction is determined to be caused by such use.”

     • “Nor does this warranty cover damages caused by use of non-
       Keurig® pods or accessories, services performed by anyone other
       than Keurig® or its authorized service providers, use of parts
       other than genuine Keurig® parts, or external causes such as
       abuse, misuse, inappropriate power supply, or acts of God.”

4-ER-606-07 (¶ 26); see also 2-ER-187-88.

     On appeal, Groff references the first bullet point as evidence of

“[t]ying [b]ehavior,” but makes no argument about how this provision

violates the MMWA. Br. 34-37. Any such argument is thus waived and




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abandoned. 5 Kohler v. Inter-Tel Technologies, 244 F.3d 1167, 1182 (9th

Cir. 2001). Also on appeal, Groff does not invoke the second bullet point

to argue that there is “[t]ying [b]ehavior.” Br. 34-37. Any such argument

is therefore also waived and abandoned. 6 Alaska Ctr. for Environment v.

U.S. Forest Serv., 189 F.3d 851, 858 n.4 (9th Cir. 1999).

     Groff thus stakes her theory of an impermissible tying arrangement

on the third bullet point provision. Br. 35 (arguing that this language

shows that Keurig “has conditioned the [w]arranty”). Groff insists that

this provision means that Keurig “will no longer honor its [w]arranty” if

a consumer uses third-party replacement parts or repair. Br. 38-39.




5     In any event, this provision does not condition the warranty’s
validity. Nor is it an unqualified statement that the consumer should
use only Keurig-brand pods and accessories to imply that not using those
products voids the warranty. See 16 C.F.R. § 700.10(c). Instead, the
statement implies what it explicitly states: Keurig cannot guarantee that
the brewer will retain its proper function and lifetime when using non-
Keurig pods and accessories. Thus, this provision is not a tying
arrangement. Finally, even if there were some sort of tying implication
about using non-Keurig pods and accessories (again, there is not), that
implication does not extend to the premise of Groff’s claims: a tying
arrangement related to non-Keurig replacement parts or repair services.
6     In any event, for the reasons expressed in this section, this
provision limiting the scope of the warranty’s guarantee to exclude
damages from non-Keurig sources is not a tying arrangement.

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     Groff’s argument is “flatly contradicted by the text of the warranty.”

Castiel v. Dyson, Inc., 717 F. Supp. 3d 698, 701 (N.D. Ill. 2024). This

provision makes explicit what is implied by the warranty’s limited

guarantee: Keurig’s warranty as to materials and workmanship defects

does not cover damages caused by or resulting from non-Keurig sources,

including third-party replacement parts and repairs. These types of

“[w]hat’s not covered” provisions “simply set forth issues that are

excluded from coverage under the warranty; they do not describe

conditions affecting the validity of the warranty.” Id. This provision,

clarifying that Keurig’s warranty does not guarantee against damages

caused by non-Keurig sources, is not a tying arrangement that could

violate the MMWA. See, e.g., id.; 3-ER-253 (no tying violation when a

warranty “excludes coverage” of “installation, set-up, or repairs

attempted by anyone other than a [manufacturer] authorized service

center” because “[t]he warranty is not voided in the event that

unauthorized repairs or services are performed”). Instead, the MMWA

permits these “[e]xceptions and exclusions from the terms of the

warranty.” 15 U.S.C. § 2302(a)(6); see also id. § 2302(a)(10) (warranty




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may exclude “characteristics or properties of the [warranted] products”);

16 C.F.R. § 701.3(a)(2) (same).

     Groff says that this provision is a tying arrangement because it

identifies when “the [w]arranty will not apply.” Br. 35. But that reason

is why the warranty is not a tying arrangement. Clarifying when the

warranty does not apply (e.g., damages from non-Keurig sources) is not a

tying arrangement because it does not condition that warranty’s validity

when its guarantee applies (e.g., when a materials or workmanship defect

occurs). See Castiel, 717 F. Supp. 3d at 701.

     The FTC has explained this point. The MMWA’s tying prohibition

“does not preclude a warrantor from expressly excluding liability for

defects or damage caused by ‘unauthorized’”—that is, third-party—

“articles or service.” 16 C.F.R. § 700.10(c). Thus, Keurig’s warranty

provisions that “disclai[m] liability for [damages] caused by” non-Keurig

sources “are in full compliance with the regulation.” Corn v. Target Corp.,

2023 WL 3389027, *6 (N.D. Ill. May 11, 2023).

     All told, no provision in Keurig’s warranty conditions the validity of

that warranty on not using third-party replacement parts or repairs.

Instead, the warranty’s guarantee against materials and workmanship



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defects remains intact even if a consumer uses third-party replacement

parts and repair. Keurig simply does not guarantee to cover damages

caused by non-Keurig sources, including third-party replacement parts

and repair. Keurig’s warranty has no tying arrangement that could

violate the MMWA.

     B.    Groff misreads the warranty to try to argue an
           impermissible tying arrangement.

     Focusing solely on the third bullet point provision identified above,

Groff contends that there is a tying arrangement because she misreads

this provision’s plain language. Br. 35-36. Referring to this provision,

which falls under the heading “WHAT IS NOT COVERED BY THE

LIMITED WARRANTY?”, Groff argues that Keurig’s warranty excludes

the actual “services performed by anyone other than Keurig® or its

authorized service providers, [or] use of parts other the genuine Keurig®

parts,” and not the “damages caused by” those third-party products or

services. 2-ER-187-88 (emphasis added); see Br. 35-36.

     The Court should reject this misreading. The plain language of this

provision excludes damages caused by third-party products and services,

not the third-party replacement parts and repairs themselves.          The

sentence begins “Nor does this warranty cover damages caused by . . .”


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and then lists a series of non-Keurig causes of damages, including third-

party pods and accessories, third-party services, third-party replacement

parts, and other non-Keurig sources like acts of God. Under the series-

qualifier canon, the phrase “damages caused by” modifies all items in the

following series, including the items of third-party products and services.

See United States v. Lucero, 989 F.3d 1088, 1093 n.3 (9th Cir. 2021)

(explaining the series-qualifier canon). Thus, contrary to Groff’s view,

this provision excludes damages caused by third-party replacement parts

and repairs, not third-party replacement parts and repairs themselves.

     Groff’s only argument for why the series-qualifier canon does not

apply is because, she says, this provision is ambiguous. Br. 35-36. But

language “is not ambiguous merely because the parties disagree on its

interpretation.” Pacific Gas & elec. Co. v. F.E.R.C., 746 F.2d 1383, 1387

(9th Cir. 1984). Other than mere say-so, Groff does not explain why it is

reasonable to read this provision without understanding “damages

caused by” to modify the entire list. In fact, by removing “damages

caused by” from applying to the entire list, Groff reads this provision to

say: “Nor does this warranty cover . . . external causes such as abuse,

misuse, inappropriate power supply, or acts of God.” 2-ER-182. This



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reading is nonsensical without the series-qualifier cannon.            Groff’s

reading that “damages caused by” does not apply to the entire list is

unreasonable and cannot establish ambiguity. See Klamath Water Users

Protective Ass’n v. Patterson, 204 F.3d 1206, 1210 (9th Cir. 1999).

     Even if this provision were ambiguous, Groff’s reading cannot carry

the day. “[A]mbiguously worded contracts should not be interpreted to

render them illegal if a legal construction is plausible.” United States v.

Univ. of S. California, 217 F.3d 1141, 1145 (9th Cir. 2000). Because the

MMWA permits the warranty to exclude damages caused by third-party

replacement parts and repair, and this provision can be reasonably read

to mean just that, Groff cannot use ambiguity to interpret the warranty

in a different way that supposedly violates the MMWA. See id.

     Ultimately, the targeted warranty provision simply excludes

coverage for damages caused by third-party products and services,

including replacement parts and repair, from the scope of the guarantee

against materials and workmanship defects.              Groff’s unreasonable,

alternative interpretation does not change that plain language. Keurig’s

warranty has no tying arrangement.




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     C.     The warranty has no impermissible tying arrangement
            even under Groff’s misreading.

     Groff’s reading of this provision, even if correct, does not state an

MMWA violation for two reasons. First, even under Groff’s reading, this

provision is still not a tying arrangement. Accepting Groff’s reading just

means that this provision limits the scope of Keurig’s warranty; it still

does not condition the validity of the warranty. See Castiel, 717 F. Supp.

3d at 701. No matter whether this provision excludes use of third-party

products and services itself, or just excludes coverage for damages caused

by third-party replacement products and services, no reading transforms

this provision into a tying arrangement. See id.

     Second, the MMWA permits this provision even if Groff correctly

characterizes it as excluding the use of third-party replacement parts and

repair from the warranty’s scope. Contrary to Groff’s view, the MMWA

does not require Keurig to cover and pay for third-party products and

services.

     Keurig can extend a warranty guarantee that “relates [only] to the

nature of the material or workmanship and affirms or promises that such

material or workmanship is defect free.” 23 U.S.C. § 2301(6)(A). And

Keurig can “elec[t]” to repair, replace, or refund if there is a materials or


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workmanship defect. Id. § 2301(10). To that end, Keurig’s warranty

provides that it will elect to provide a repair or replacement in the event

of a materials or workmanship defect. 2-ER-187.

     When Keurig elects to provide a repair, Keurig is within its rights

under the MMWA to clarify that it will not pay just anyone—including

third parties—who attempts repair. Keurig’s warranty can “includ[e] the

identification of any person or class of persons authorized to perform the

obligations set forth in the warranty,” such as who will perform the

warranted repair. Id. § 2302(a)(7); see also 16 C.F.R. § 701.3(a)(5). Even

if Groff correctly reads this warranty provision to mean that Keurig

excludes third-party repair services from the warranty, that type of

provision is permitted under the MMWA. See id. In fact, the MMWA

prohibits Groff’s attempt to hold Keurig liable for refusing to cover third-

party repair. See 15 U.S.C. § 2307 (“[n]othing in this chapter shall be

construed to prevent any warrantor from designating representatives to

perform duties under the written . . . warranty”).

     Similarly, when Keurig elects to provide a replacement, Keurig

need not pay for just any product—including third-party replacement

parts—to serve as that replacement. Keurig only needs to provide “a



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new” product “identical or reasonably equivalent” to the warranted

product, not a third-party product. 15 U.S.C. § 2301(11). Even if Groff

correctly reads this warranty provision to mean that Keurig excludes

third-party replacement parts from the warranty, nothing in the MMWA

requires Keurig to supply Groff with, or reimburse Groff for, third-party

products.

     In short, Groff’s misreading of this provision does not transform it

into a tying arrangement. And even if Groff correctly reads this provision

to exclude third-party replacement parts and repair from the warranty

(and not just damages caused by those non-Keurig sources), the MMWA

permits that type of warranty provision. Because the MMWA does not

require Keurig to pay for third-party products or services, Groff’s

misreading cannot establish a violation of the MMWA’s tying prohibition.

     D.     Groff failed to plead facts that reasonable consumers
            believe using third-party replacement parts or repair
            voids the warranty.

     Groff also argues that, even if the warranty is not actually voided

on use of third-party replacement parts or repair under its terms, the

impermissible tying condition arises from reasonable consumers being




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misled into believing that to be the case. Br. 7, 23, 36-37. This argument

also fails to support Groff’s theory of an MMWA violation.

     On appeal, Groff argues that “consumers routinely understood the

[w]arranty language to exclude the use of third-party repairs and parts.”

Br. 36. As explained in Argument § II.C, excluding third-party products

and services from the warranty’s guarantee is not a tying condition and

does not otherwise violate the MMWA. Even if reasonable consumers

believed that Keurig’s warranty does not cover third-party replacement

parts or repair itself, that belief is not tantamount to an MMWA

violation.   Moreover, as explained in Argument § II.B, this is an

unreasonable interpretation of the warranty and MMWA liability cannot

be based on unreasonable interpretations. See 16 C.F.R. § 700.10(c).

This appellate argument cannot establish an MMWA violation.

     Groff’s pleadings alleged a different argument.               Rather than

focusing on the warranty’s scope, Groff instead alleged that “the common

understanding among consumers is that . . . third-party repai[r] will void

the [w]arranty.” 4-ER-607 (¶ 27) (emphasis added). As addressed in

Argument § II.A, this supposed view is unreasonable given that the

warranty has no void clause and does not condition its validity on not



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using third-party replacement parts and repair. Again, MMWA liability

cannot be based on an unreasonable interpretation of the warranty. See

16 C.F.R. § 700.10(c). These allegations cannot establish an MMWA

violation.

     Nor does Groff support her conclusory assertion about reasonable

consumers’ “routin[e]” belief by citing to third-party websites that claim

consumer repair will void the Keurig warranty. Br. 36; see also Br. 7-8;

4-ER-607-08 (¶¶ 28-32). This handful of web articles is not evidence of a

reasonable consumer’s interpretation of Keurig’s warranty. Nor do these

articles explain their view that a warranty might be voided based on the

issue in this case: the warranty’s language found in Groff’s warranty. To

that end, Groff’s warranty was published in July 2021. See 2-ER-187.

None of Groff’s cited webpages relate to Groff’s warranty given that these

web articles either (1) were created before—some more than a decade—

her warranty was published (“Coffee Grump,” “Lucky Belly,” and

“Hunker”), (2) discuss and display a purported Keurig warranty with

language different from Groff’s warranty (“My Virtual Coffee House”), or

(3) have no date or textual reference to correlate to Groff’s particular




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warranty (“Fixing the K”).7 These web articles cannot support Groff’s

conclusory assertion about reasonable consumer belief about the

warranty underlying her claims.8

     E.    The Court should affirm on this alternative ground.

     Groff’s UCL claims all rely on an alleged violation of the MMWA’s

tying prohibition. But Keurig’s warranty does not have a void clause or

otherwise condition its validity on a consumer not using third-party

products or services. Groff’s contrary interpretation of the warranty’s

plain language is unreasonable and does not establish a violation of the

MMWA’s tying prohibition.        Groff thus failed to plead the MMWA




7     If the Court even considers these cherry-picked webpages in
evaluating whether Groff stated an MMWA violation, Keurig moves the
Court to take judicial notice of the content of these webpages that Groff
linked in her second amended complaint and opening brief. See, e.g.,
National Conference of Pers. Mangers, Inc. v. Brown, 599 F. App’x 275,
276 (9th Cir. 2015). If the Court considers Groff’s characterizations of
these webpages, it can also consider their substance to determine
whether Groff stated a claim. Knievel v. ESPN, 393 F.3d 1068, 1076-77
(9th Cir. 2005).
8     For similar reasons, Groff cannot rely on supposed conversations
with Keurig representatives that predate her warranty. Such an alleged
conversation, posted to Twitter in 2018, is unrelated to the warranty
underlying this litigation published in 2021. See 4-ER-608-09 (¶ 33 &
n.17). In any event, this alleged interaction relates to “dismantl[ing]” a
brewer, not third-party repair. Id.

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violation underlying her UCL claims.            The Court should affirm the

dismissal of Groff’s UCL claims on this alternative basis.

III. The absolute bar safe harbor precludes Groff’s UCL claims.

     Another alternative ground supports affirming the district court’s

dismissal: the UCL’s absolute bar safe harbor. See Livid Holdings, 416

F.3d at 950. “There are limits on” when a plaintiff can maintain a UCL

claim. Chabner v. United of Omaha Life Ins., 225 F.3d 1042, 1048 (9th

Cir. 2000).    Under the UCL’s absolute bar safe harbor, “a plaintiff

[cannot] plead around an absolute bar to relief simply by recasting the

cause of action as one for unfair competition.” Id. To “forestall” a UCL

claim, “another [statute] must actually bar the action.” Id. Under this

“safe harbor,” “[i]f the Legislature has . . . considered a situation and

concluded no action should lie, courts may not override that

determination.” Davis v. HSBC Bank Nevada, N.A., 691 F.3d 1152, 1164

(9th Cir. 2012).

     Groff’s UCL claims require a violation of the MMWA’s tying

prohibition. See Br. 10-11 & n.5, 19, 34-41. If Congress considered and

rejected private enforcement of that MMWA provision in the

circumstances presented by Groff’s lawsuit, then the absolute bar



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prevents Groff from using a UCL claim to circumvent that legislative

decision. See Davis, 691 F.3d at 1164.

      A.    Congress expressly considered and limited private
            enforcement of the MMWA’s substantive provisions.

      The MMWA creates requirements for written warranties. See 15

U.S.C. § 2301, et seq. Congress gave the FTC the power to establish “the

extent” of such requirements, to “prescribe” additional requirements, to

create exceptions to those requirements, and craft warranty provisions

that satisfy the law. See, e.g., id. § 2302(a), (b)(1)(A), (c), (d). The FTC

has taken on that power, promulgating dozens of rules under the MMWA.

See 16 C.F.R. §§ 700.1 et seq., 701.1 et seq., 702.1 et seq., 703.1 et seq. And

Congress made the Attorney General and the FTC the main enforcers of

the technical requirements of the MMWA. See 15 U.S.C. § 2310(c)(1).

      Within this legislative context, Congress created a private action

under the MMWA that allows private enforcement of the MMWA if

statutory standing is satisfied. Id. § 2310(d)(1). That statutory standing

requirement establishes whether a particular consumer falls “within the

class of plaintiffs whom Congress has authorized to sue” under the

MMWA. Lexmark Int’l, Inc. v. Static Control Components, Inc., 572 U.S.

118, 128 (2014).     MMWA statutory standing is therefore a type of


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absolute bar under the UCL’s safe harbor. See, e.g., Asencio v. Miller

Brewing Co., 2006 WL 8446875, *1, *4 (C.D. Cal. Aug. 11, 2006) (no UCL

claim based on violations of Fair Employment and Housing Act because

the plaintiff failed to obtain a prerequisite right-to-sue letter under that

Act); In re Vaccine Cases, 134 Cal. App. 4th 438, 457-59 (2005) (no UCL

claim based on violation of Safe Drinking Water and Toxic Enforcement

Act because plaintiffs failed to serve prerequisite notices under that Act).

     Groff argues that statutory standing cannot be a type of absolute

bar because it is not a procedural requirement to suit. Br. 31. But Groff

does not explain why statutory standing is not procedural. See United

States v. Real Prop., 787 F.3d 968, 973-74 (9th Cir. 2015) (some courts

characterize “jurisdictional procedural requirements” as “statutory

standing”). In any event, a legislative “conclu[sion that] no action should

lie” can come in the form of statutory standing, no matter whether

characterized as a procedural or substantive prerequisite to suit. See

Davis, 691 F.3d at 1164; see also City of Sausalito v. O’Neill, 386 F.3d

1186, 1199 (9th Cir. 2004) (a statutory standing prerequisite establishes

“whether a particular plaintiff has been granted a right to sue”). The

district court agreed, holding that the MMWA’s statutory standing



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requirement shows that “Congress undoubtedly sought to limit the class

of plaintiffs who could sue for a violation of the MMWA.” 4-ER-636. To

that end, Congress’s creation of a private right of action with a statutory

standing requirement in the MMWA distinguishes Groff’s cases cited on

brief when a legislature was silent by not creating a private right of

action in the statutory scheme on which the UCL claim relies. Br. 30.

     Groff also argues that MMWA statutory standing is not an absolute

bar because she did not file suit directly under the MMWA, and the

MMWA’s statutory standing requirement does not mean that “Congress

has concluded that a plaintiff is foreclosed from bringing any other cause

of action concerning a violation of the MMWA.”             Br. 28-29.   To the

contrary, the statutory scheme shows that Congress explicitly

“contemplated only administrative enforcement” of the MMWA’s

substantive requirements unless a private individual could satisfy the

statutory standing prerequisite. Zhang v. Superior Court, 57 Cal. 4th

364, 384 (2013) (when the legislature “contemplated only administrative

enforcement” of California’s Unfair Insurance Practices Act, “a litigant

may not rely on the proscriptions of [that Act] as a basis for a UCL

claim”). Given that Congress decided that there should not be private



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enforcement directly under the MMWA without satisfying MMWA’s

statutory standing requirement, that decision applies equally to private

enforcement of the MMWA indirectly through another claim. See id.; see

also May v. United States, 691 F. App’x 334, 336 (9th Cir. 2017) (courts

avoid construing statutes from being “not coherent and consistent with

the overall statutory scheme”).

     B.    MMWA statutory standing requires damages more
           than buying a product with an alleged illegal warranty.

     The MMWA provides a right of action for “a consumer who is

damaged by the failure . . . to comply with [the MMWA].” 15 U.S.C.

§ 2310(d)(1). As the district court observed, “[c]ourts have interpreted

the language ‘damaged by’ to require that a consumer show that she

suffered actual damage resulting from the MMWA violation.” 4-ER-634-

35 (collecting cases). Groff failed to plead facts of having satisfied this

actual damage requirement for two reasons.

           1.    A price premium theory of damages is not actual
                 damages under the MMWA.

     Based on the MMWA’s plain language, “[i]t is readily apparent that

by restricting the class of MMWA plaintiffs to consumers ‘damaged’ by a

defendant’s MMWA violation, Congress did not intend to afford a right of

action to a consumer who merely paid for a warranty that was technically

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illegal under the statute.” McGarvey v. Penske Auto. Grp., Inc., 639 F.

Supp. 2d 450, 456 (D.N.J. 2009). By authorizing suit only by “a consumer

who is damaged,” the MMWA “stands in contrast with federal statutes

that provide a private right of action based upon a defendant’s unlawful

conduct, irrespective of whether such unlawful conduct has caused the

plaintiff to incur actual damages.” Id. at 456.

     “Th[is] holdin[g] [is] consistent with the MMWA’s legislative

history.” Moroz v. Alexico Corp., 2008 WL 109090, *5 (E.D. Pa. Jan. 8,

2008). Congress originally considered giving a private action to, simply,

“[t]he holder of a valid warranty.”          2-ER-204 (§ 14).          Yet after

Congressional hearings on the bill that questioned the broadness of this

right of action, the current “damage” language was added to legislation

that would eventually become the MMWA. See, e.g., 3-ER-308, 3-ER-417

(§ 110(e)). Congress thus intended the “damage” requirement to be actual

damages beyond merely buying a product (and thus becoming a holder of

a warranty) associated with a technical violation of the MMWA. See, e.g.,

Moroz, 2008 WL 109090, at *5 (using text and legislative history, as well

as collecting cases, to hold that the MMWA did not give consumers a right

to sue over the MMWA’s technical requirements).



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       “To bring a suit, then, a plaintiff must plausibly allege [s]he has

sustained actual damage, proximately caused by the defendant’s alleged

failures.” Sasso v. Tesla, Inc., 584 F. Supp. 3d 60, 77 (E.D.N.C. 2022). In

fact, “[t]he majority of the federal courts that have addressed the matter

. . . have held that a plaintiff is required to show that [s]he has sustained

actual damage”—that is, something more than the mere purchase of a

product—“proximately caused by the defendant’s failure to comply with

the MMWA, in order to state an actionable MMWA claim.” McGarvey,

639 F. Supp. 2d at 456 (collecting cases)

       Groff only alleges price premium damages. See 4-ER-612 (¶¶ 48-

49).   This theory of damages is just an attempted end-run around

congressional intent. Price premium damages allege harm only because

the consumer supposedly “paid more for a product than she otherwise

would have” absent the alleged misrepresentation. 4-ER-636. A price

premium theory of damage is indistinguishable from the circumstances

Congress rejected as allowing a private MMWA claim to enforce the

MMWA’s technical requirements. See McGarvey, 639 F. Supp. 2d at 456

(“Congress did not intend to afford a right of action to a consumer who

merely paid for a warranty that was technically illegal under the



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statute.”); Ghaznavi v. De Longhi Am., Inc., 2023 WL 4931610, *6

(S.D.N.Y. Aug. 2, 2023) (expressing “reservations about extending” the

price premium theory to the MMWA context).               Groff’s alleged price

premium theory of damages cannot satisfy MMWA statutory standing.

     In response, Groff argues that all these cases are wrongly decided,

and instead Schaer v. Newell Brands Inc., 2023 WL 2033765 (D. Mass.

Feb. 16, 2023), establishes that she has standing under her price

premium theory. Br. 32-33. Schaer held that price premium damages

constitute an injury in fact for Article III standing. 2023 WL 2033765, at

*1. Schaer is irrelevant, however, because Groff fails to satisfy statutory

standing, not constitutional standing. Groff wrongly conflates these two

doctrines that have their own separate analyses. See Minden Pictures,

Inc. v. John Wiley & Sons, Inc., 795 F.3d 997, 1001 (9th Cir. 2015); Stan

Lee Media Inc. v. Lee, 2012 WL 4048871, *3 (C.D. Cal. Aug. 23, 2012).

     Finally, Groff contends that, under the MMWA, state law defines

the measure of damages, and California law defines “actual damages” to

include price premium damages. Br. 32-33. Groff wrongly conflates

statutory standing and measure of damages.             “Whether [particular]

damages to [a party] is a proper measure of damages to [that party] is a



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separate question from whether [a party] has standing to assert claims

that the defendant harmed [a party].” Smith v. Arthur Andersen LLP,

421 F.3d 989, 1005 (9th Cir. 2005); see also, e.g., In re TFT-LCD (Flat

Panel) Antitrust Litig., 637 F. App’x 981, 985 (9th Cir. 2016) (cases about

“standing rather than the measure of damages” are “distinguishable”).

While state law might determine the measure of damages for a breach of

warranty claim (which is not the type of MMWA violation Groff alleges),

state law cannot override congressional intent that merely buying a

product with an allegedly illegal warranty does not satisfy MMWA

statutory standing to enforce the MMWA’s technical requirements. See

U.S. Const. art. VI, cl. 2; Alaska Airlines, Inc. v. City of Long Beach, 951

F.2d 977, 982 (9th Cir. 1991).

           2.    Groff failed to plead facts of a price premium. 9

     Even if a price premium theory of damages qualifies as actual

damages for MMWA statutory standing, Groff failed to adequately plead

a price premium caused by her allegedly illegal warranty. Groff alleged

only that she “suffered an economic injury” because her brewer had a



9 This argument means that Groff failed to establish both MMWA
statutory standing to avoid the absolute bar safe harbor, and an economic
injury to state a UCL claim. 2-ER-53-54, 56-57; 3-ER-573.

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“diminished . . . value” and she “[over]paid . . . for the” brewer. 4-ER-612

(¶¶ 48-49). Standing alone, these “economic loss” allegations are “not

credible” because they are “conclusory and unsupported by any facts.”

Cahen v. Toyota Motor Corp., 717 F. App’x 720, 723 (9th Cir. 2017)

(failure to plead an “economic loss” based on conclusory allegations of

“overpaying” and that the product is “worth less”); see also, e.g., Naimi v.

Starbucks Corp., 798 F. App’x 67, 70 (9th Cir. 2019) (price premium

allegations failed to “adequately allege a cognizable injury” because no

facts “regarding the price premium” were alleged).

     On appeal, Groff argues that the diminished value was caused by

her inability to use third-party replacement parts of repair without

voiding her warranty. Br. 26-28. This argument addresses causation

and does not save Groff’s inadequately pleaded facts of damages.

     In any event, Groff’s argument underscores that lack of adequately

pleaded facts establishing a causative link between the allegedly illegal

warranty and the conclusorily-alleged price premium. Groff’s one-year

warranty has expired. 2-ER-187; 4-ER-612 (¶ 44). During that one-year

warranty period Groff never: (1) used a third-party replacement part or

repair during that one-year warranty period, (2) sought any repair or



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replacement under Keurig’s warranty, or (3) was told by Keurig that her

warranty rights were void and unenforceable during the warranty period.

See 4-ER-612-13 (¶¶ 44-50). Groff thus failed to plead not only facts of a

price premium, but also that the allegedly illegal nature of Keurig’s

warranty caused any purported loss in her brewer’s value.

     C.    The Court should affirm on this alternative ground.

     In enacting the MMWA, Congress decided that a consumer could

enforce the MMWA’s substantive requirements only if the consumer

satisfies MMWA statutory standing. MMWA statutory standing is thus

an absolute bar that Groff cannot use the UCL to plead around. In turn,

Groff’s alleged price premium damages cannot satisfy MMWA statutory

standing because it is indistinguishable from simply buying a product

with an allegedly illegal warranty. Groff therefore falls into the class of

individuals who Congress determined cannot enforce the MMWA. In

turn, the absolute bar safe harbor prevents Groff from basing her UCL

claims on alleged violations of the MMWA. The Court should affirm the

dismissal of Groff’s UCL claims on this alternative basis.




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                              CONCLUSION

     The Court should affirm the district court and award Keurig all

other appropriate and just relief.

Dated: February 5, 2025              /s/ Nicholas J. Hoffman
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               STATEMENT OF RELATED CASES

     Counsel is unaware of any related case under Circuit Rule 28-2.6.



Dated: February 5, 2025            /s/ Nicholas J. Hoffman
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                 CERTIFICATE OF COMPLIANCE

     I, Nicholas J. Hoffman, am the attorney for appellee Keurig Green

Mountain, Inc. I certify the following statements.

     1.    This brief complies with the length limitations in 9th Cir. R.

32-1(a) and Fed. R. App. P. 32(a)(7) because it contains 11,907 words,

excluding the parts of the brief exempted by Fed. R. App. P. 32(f).

     2.    This brief complies with the typeface and type-style

requirements of Fed. R. App. P. 32(a)(5) and Fed. R. App. P. 32(a)(6)

because it has been prepared in a proportionally spaced typeface using

Microsoft Word, in 14-point size Century Schoolbook font.



Dated: February 5, 2025             /s/ DRAFT
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